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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 RICHARD LEE BROWN,

       Plaintiff,
                                              Case No. 1:20-cv-3702-JPB
       v.

 ALEX AZAR, in his official capacity
 as Secretary U.S. Department of Health
 & Human Services et al.,

       Defendants.


                           NOTICE OF APPEARANCE

      Please take notice that Leslie Cooper Vigen hereby enters her appearance as

counsel of record for defendants Alex Azar, in his official capacity as Secretary of the

U.S. Department of Health and Human Services; the U.S. Department of Health and

Human Services; Nina B. Witkofsky, in her official capacity as Acting Chief of Staff

of the U.S. Centers for Disease Control and Prevention; and the U.S. Centers for

Disease Control and Prevention.


Dated: September 10, 2020                      Respectfully submitted,
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